Case 7:20-cv-00584-VB Document 61 Filed 08/11/21 Page 1of1

 

 

 

 

 

 

 

 

SusDcs SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
HASSAN ZOROME ‘ | noe
, | De
Plaintiff, : Swe: Blulseet -|
v. : ORDER OF DISMISSAL
UNITED PARCEL SERVICE, INC.; and UPS — : 20 CV 584 (VB)
FREIGHT, :
Defendants. :
Xx

 

The Court has been advised that the parties have reached a settlement in this case.
Accordingly, it is hereby ORDERED that this action is dismissed without costs, and without
prejudice to the right to restore the action to the Court’s calendar, provided the application to
restore the action is made by no later than September 30, 2021. To be clear, any application to
restore the action must be filed by September 30, 2021, and any application to restore the action
filed thereafter may be denied solely on the basis that it is untimely.

All other deadlines, scheduled conferences, or other scheduled court appearances are
cancelled. Any pending motions are moot,

The Clerk is instructed to close the case.

Dated: August 11, 2021

White Plains, NY
SO ORDERED:

Vil

Vincent L. Briccetti
United States District Judge

 

 

 
